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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
                                                    §
                                                    §
 v.                                                 §     CRIM ACTION 6:14-CR-29(2)
                                                    §
 DIJON ARTHUR HOWARD, a/k/a                         §
 “Dee”                                              §


              ORDER ADOPTING THE REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE


        The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

the plea agreement. She further recommended that the Court finally adjudge Defendant as guilty

of Count 2 of the Indictment filed in this cause.

        In open court at the plea hearing on November 14, 2014, the parties waived their right to

object to the magistrate judge’s findings. The Court is of the opinion that the Report and

Recommendation should be accepted. It is accordingly

        ORDERED that the Report and Recommendation of the United States Magistrate Judge

is ADOPTED. It is further

        ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditioned upon a review of the presentence

report. It is finally
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      ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

GUILTY of Count 2 of the Indictment in the above-numbered cause and enters a JUDGMENT

OF GUILTY against the Defendant as to Count 2 of the Indictment.

       So ORDERED and SIGNED this 18th day of November, 2014.




                            __________________________________
                            LEONARD DAVIS
                            UNITED STATES DISTRICT JUDGE




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